                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                     )
                                             )       1:24-cr-ii
        v.                                   )
                                             )       JUDGES McDONOUGH/STEGER
JAMES C. THOMPSON                            )

                                       CERTIFICATION

        The United States of America, by and through Assistant United States Attorney James T.

Brooks, certifies that the instant prosecution D was IZI was not a matter or case pending in the

United States Attorney's Office for the Eastern District of Tennessee, on or before December 21,

2020.

                                                     FRANCIS M. HAMILTON III
                                                     United States Attorney

                                             By:     s/James T. Brooks
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